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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                          NORTHERN DISTRICT OF FLORIDA
                               GAINESVILLE DIVISION


UNITED STATES OF AMERICA,

v.                                                              CASE NO. 1:07-cr-00014-MP-AK

DANIEL M KLEIN,

      Defendant.
___________________________/

                                           ORDER

       This matter is before the Court on Doc. 236, Motion to Continue Sentencing by Daniel M

Klein. The government does not object to the continuance and by making the motion, the motion

is granted and sentencing is reset for July 17, 2008, at 3:00 p.m

       DONE AND ORDERED this 27th               day of May, 2008


                                       s/Maurice M. Paul
                                 Maurice M. Paul, Senior District Judge
